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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

   UNITED STATES OF AMERICA §
                                                    §
   v.                                     §                    No. 4:18CR
                                                    §          Judge
   DANIEL MENDOZA (1) §
   ALEJANDRO FLORES (2) §
   MIRANDA MOORE (3) §
   CESAR MENDEZ (4) §
    a.k.a.                 Kabuki                 §

                                           INDICTMENT
                                                                              OCT 1 0 2018
      THE U ITED STATES GRAND JURY CHARGES:
                                                                           Clerk, U.S. District Court
                                                                                  exas E stern
                                             Count One

                                                     Violation: 21 U.S.C. § 846 (Conspiracy
                                                      to Possess with the Intent to Manufacture
                                                      and Distribute Methamphetamine)

          That from sometime in or about January 2016, and continuously thereafter up to

  and including October 10, 2018, in the Eastern District of Texas and elsewhere,

                                            Daniel Mendoza
                                            Alejandro Flores
                                            Miranda Moore
                                      Cesar Mendez, a.k.a. Kabuki

  defendants, did knowingly and intentionally combine, conspire, and agree with each other

  and other persons known and unknown to the United States Grand Jury, to knowingly

  and intentionally possess with the intent to manufacture and distribute 500 grams or more

  of a mixture or substance containing a detectable amount of methamphetamine or 50

  grams or more of methamphetamine (actual), a violation of 21 U.S.C. § 841(a)(1).



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         In violation of 21 U.S.C. § 846.

                                            Count Two

                                                   Violation: 21 U.S.C. § 846 (Conspiracy
                                                   to Possess with the Intent to Distribute
                                                   Heroin)

         That from sometime in or about January 2016, and continuously thereafter up to

  and including October 10, 2018, in the Eastern District of Texas and elsewhere,

                                          Daniel Mendoza
                                          Alejandro Flores
                                          Miranda Moore

  defendants, did knowingly and intentionally combine, conspire, and agree with each other

  and other persons known and unknown to the United States Grand Jury, to knowingly

  and intentionally possess with the intent to manufacture and distribute 1 kilogram or

  more of a mixture or substance containing a detectable amount of heroin, a violation of


  21 U.S.C. § 841(a)(1).

         In violation of 21 U.S.C. § 846.

            NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
         As a result of committing the offense charged in this Indictment, the defendants

  shall forfeit to the United States, pursuant to 21 U.S.C. § 853, all property used to commit

  or facilitate the offenses, proceeds from the offenses, and property derived from proceeds

  obtained directly or indirectly from the offenses, including but not limited to the

  following:

          All such proceeds and/or instrumentalities are subject to forfeiture by the

  government.


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                                           A TRUE BILL


                                           GRAND JURY FOREPERSON




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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

   UNITED STATES OF AMERICA                        §
                                                   §
   V.                                              § No. 4:18CR
                                                   § J dge
   DANIEL MENDOZA (1)                              §
   ALEJANDRO FLORES (2)                            §
   MIRANDA MOORE (3)                               §
                                            Co nt One

  Violation: 21 U.S.C. § 846

  Penalty: If 500 grams or more of a mixture or substance containing a detectable
                amount of methamphetamine or 50 grams or more of methamphetamine
                (actual) - not less than 10 years and not more than life imprisonment, a
                fine not to exceed $10 million, or both; supervised release of at least five
                  years.


  Special Assessment: $100.00

                                            Count T o

  Violation: 21 U.S.C. § 846

  Penalty: If 1 kilogram or more of a mixture or substance containing a detectable
                amount of heroin not less than 10 years and not more than life
                imprisonment, a fine not to exceed $10 million, or both; supervised release
                  of at least five years.

  Special Assessment: $100.00




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